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                                                                                                  FILED 27 DEC '2311 :36 U:3DC·IJRE
 Pro Se 14 (Rev. 12/16) Complaint for Violation of Civil Rights (Prisoner)



                                          UNITED STATES DISTRICT COURT
                                                                             for the
                                                          _____ District of _ _ _ __

                                                                    _____ Division


                                                                                )      Case No.
                                                                                )                   (to be f illed in by the Clerk's Office)
                                                                                )
                              Plaintiff(s)
 (Write the full name of each plaintiff who is filing this complaint.
                                                                                )
 If the names ofall the plaintiffs cannot fit in the space above,               )
 please write "see attached" in the space and attach an additional              )
 page with the fall list of names.)                                             )
                                    -v-                                         )
                                                                                )
                                                                                )

?' ~·~ • f().~1,{],J~        Defendant(s)
                                                                                )
                                                                                )
                                                                                )
 (Write the full name of each defendant who is being sued. /fthe                )
 names of all the defendants cannot fit in the space above, please              )
 write "see attached" in the space and attach an.additional page
 with the fall list ofnames. Do not include addresses here.)



                                    COMPLAINT FOR VIOLATION OF CIVIL RIGHTS
                                                (Prisoner Complaint)


                                                                             NOTICE

     Federal Rules of Civil Procedure 5.2 addresses the privacy and security.concerns resulting from public access to
     electronic court files. Under this rule, papers filed with the court should not contain: an individual's full social
     security number or foll birth date; the full name of a person known to be a minor; or a complete financial accou.r;t
     number. A filing may include only: the last four digits of a social security number; the year of an individual's
     birth; a minor's initials; and the last four digits of a financial account number.

    Except as noted in this form, plaintiff need not send exhibits, affidavits, grievance or witness statements, or any
    other materials to the Clerk's Office with this complaint.

    In order for your complaint to be filed, it must be accompanied by the filing fee or an application to proceed in
    forma pauperis.




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I.        The Parties to This Complaint

          A.          The Plaintiff(s)

                     Provide the infonnation below for each plaintiff named in the complaint. Attach additional pages if
                     needed.
                            Name
                            All other names by which
                            you have been known:
                            ID Number
                            Current Institution
                            Address


                                                                                        City                      State            Zip Code

           B.         The Defendant(s)

                     Provide the infonnation below for each defendant named in the complaint, whether the defendant is an
                     individual, a government agency, an organization, or a corporation. Make sure that the defendant(s)
                     listed below are identical to those contained in the above caption. For an individual defendant, include
                     the person's job or title (if lcnown) and check whether you are bringing this complaint against them in their
                     individual capacity or official capacity, or both. Attach additional pages if needed.

                     Defendant No. 1
                            Name
                            Job or Title (if lcnown)
                            Shield Number
                            Employer
                            Address
                                                                            ScJuo                           oM.-~o             973o~
                                                                                        City                      Sta               Zip Code
                                                                            D Individual capacity D Official capacity
                     Defendant No. 2
                            Name                                        ~ Or~cn De{>Wt'ffiW\ ofC.Cnrt~~•e>oll5 'r)o'ocwi1>("a. ~ \~tciHh ~'-''11:te..5
                            Job or Title (if known)                          Me cl-i,,O \tc,c.J.,¼\ 'krv ice-;,     fq '\>r~ s~I\D.' ,
                            Shield Number
                            Employer
                            Address
                                                                             SoJe.m
                                                                                        City                                        Zip Code

                                                                            D Individual capacity D Official capacity

                                                                                                                                           Page2 of II


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                      Defendant No. 3
                            Name                                            Z,/lrb~ f/J,Jlu:
                            Job or Title (if knuwn)
                            Shield Number
                            Employer                                        ~"'1111 ¥1f'8 cl-11UAt pf Cc,rrecJ/9D5 ~~               /l.tJen S-/dt /;(lf"nd-,0/lC(,/)
                            Address                                         l11&1rt,,Hon Y/tJS ,f?lu f'J ./Jr 6«/uo I DNff:' q7~/6
                                                                                        City                        State                   Zip Code

                                                                            D Individual capacity D Official capacity
                      Defendant No. 4
                            Name
                            Job or Title (ifknown)
                            Shield Number
                            Employer                                        7M o,,o/1 .lApyl-mu,/of&,..,cJ-r4115, ~ fMJon 81.h C,.w-mJ,otJ~
                            Address                                         JAJ}il,,/(611 4,(1 J -,;.i 12HJM SM rpu,rufifl,t JI/[$ ./Ju..r /J«rK (}RSC'

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                                                                                                                     D:1",,
                                                                                                                    State
                                                                                                                          1
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                                                                                                                                             Zip Code

                                                                            D Individual capacity D Official capacity
II.        Basis for Jurisdiction

           Under 42 U.S.C. § 1983, you may sue state or local officials for th~ "deprivation of any rights, privileges, or
           immunities secured by the Constitution and [federal laws]." Under Bivens v. Six Unknown Named Agents of
           Federal Bureau of Narcotics, 403 U.S. 388 (1971), you may sue federal officials for the violation of certain
           constitutional rights.

           A.         Are you bringing suit against (check all that apply}:

                      D Federal officials (a Bivens claim)
                      [i] State or local officials (a§ 1983 claim)
           B.         Section 1983 allows claims alleging the "deprivation of any rights, privileges, or immunities secured by
                      the Constitution and [federal laws]." 42 U.S.C. § 1983. lfyou are suing under section 1983, what
                      federal constitutional or statutory right(s) do you claim is/are being violated by state or local officials?
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                       R.,-~',t\-, lo\~ 'f',f+I,\ >.~PJ!m.t\\. ~.-~~h, M~ fi>., .."'~~"'O'i\- Y{ii\11) c.,..6 c...~ fo~t Awn~~,:Zi'dld-.i·
                       Cltt.~yi'i>\~J 111\ ~ Ol<t~6f\~~I- ™'\\. of Co~,,tc,~l'c>11.s t>'{ ~.doll'') ~ I • ~ Fu'\'<( 0~6 A

                      ~or.~i'bitc>°n~~•+:t: ~ 5s v~!,'L-t: t¥f.-~J ~:;0t-J~ fhb~t.!'!' 1 '~ t-h ~
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t.>tf'ittr or wa.S ec.          -             ~                       ' ,        •                o. · «     • Mr             •     ,       'fl fJ,5 .,/
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                  D.     Section 1983 allows defendants to be found liable only when they have acted "under color of any                             p,-, Va.t.y •
                              statute, ordinance, regulation, custom, or usage, of any State or Territory or the District of Columbia."                                       t
                              42 U.S.C. § 1983. If you are suing under section 1983, explain how each defendant acted under color
                              of state or local law. If you are suing under Bivens, explain how each defendant acted under color of
                              federal law. Attach additional pages if needed.




        ill.       Prisoner Status

                   Indicate whether you are a prisoner or other confined person as follows (check all that apply):
                  D           Pretrial detainee

                  D           Civilly committed detainee

                  D           Immigration detainee

                  D           Convicted and sentenced _state prison,er

                  ~ Convicted and sentenced federal prisoner
                  D           Other (~plain)

        IV.      Statement of Claim

                 State as briefly as possible the facts of your case. Describe how each defendant was personally involved in the
                 alleged wrongful action, along with the dates and locations of all relevant events. You may wish to include
                 further details such as the names of other persons involved in the events giving rise to your claims. Do not cite
                 any cases or statutes. If more than one claim is asserted, number each claim and write a short and plain
                 statement of each claim in a separate paragraph. Attach additional pages if needed.
                                    ,A-II o f ~t elA1°lllS 1:1.ro')( Wk,1t 1'~riS,o11~J ..
                 A.        If the events giving rise to your claim ~ose mtteiae, an institution, describ~ where and when they aros~. 1
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                 B.           If the events giving rise to your claim aro~e in an institution, de~crib~ where and when they ar~. ~                                -
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             C.




             D.




    V.       Injuries

             If you sustained iajuries related to the events alleged above, describe your injuries and state what medical
             treatment, if any, you required and did or did not receive.




    VI.




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VII.     Exhaustion of Administrative Remedies Administrative Procedures

         The Prison Litigation Reform Act ("PLRA"), 42 U.S.C. § 1997e(a), requires that "[n]o action shall be brought
         with respect to prison conditions under section 1983 of this title, or any other Federal law, by a prisoner con.fined
         in any jail, prison, or other correctional facility until such administrative remedies as are available are
         exhausted."

         Administrative remedies are also known as grievance procedures. Your case may be dismissed if you have not
         exhausted your administrative remedies.

         A.           Did your claim(s) arise while you were confined in a jail, prison, or other correctional facility?

                     ~es

                      □ No
                      If yes, name the jail, prison, or other correctional facility where you were confined at the time of the
                      events giving rise to your claim(s).




         B.           Does the jail, prison, or other correctional facility where your claim(s) arose have a grievance
                      procedure?

                      ~s



                      D Donotknow
         C.           Does the grievance procedure at the jail, prison, or other correctional facility where your claim(s) arose
                      cover some or all of your claims?

                      D Yes
                      □ No
                      ~notknow

                      If yes, which claim(s)?




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         D.           Did you file a grievance in the jail, prison, or other correctional facility where your claim(s) arose
                      concerning the facts relating to this complaint?

                      ~es



                      If no, did you file a grievance about the events described in this complaint at any other jail, prison, or
                      other correctional facility?

                      ~s

                      □ No

         E.           If you did file a grievance:

                      1.     Where did you file the grievance?




                           ~ ~n ~ t Cou.H()i\J lt¼h\tic,n
                      2.     What did you claim in your grievance?




                      3.     What was the result, if any?




                      4.     What steps, if any, did you take to appeal that decision? Is the grievance process completed? If
                             not, explain why not. (Describe all efforts to appeal to the highest level ofthe grievance process.)




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               F.           If you did not file a grievance:

                            1.    If there are any reasons why you did not file a grievance, state them here:




                            2.    If you did not file a grievance but you did inform officials of your claim, state who you infonned,
                                  when and how, and their response, if any: I      hAv-e., f;!tJ ~n'vty"411t.tS     a/J,"J    Va.,'/d o/q/1115

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                                                                                          w..t. to pi IC ~ Cl<tc'"" 4-ivJ-      mrd«.r') ~
               G.           Please set forth any additional information that is relevant to the exhaustion of your administrative
                            remedies. Mu c- 11         ,    ,    •        ,       l £Jc:;.. •      ,        1
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                              .A~l\dt,J ~~t 3~~WW\ ~ •
                            (Note: You may attach as exhibits to this complaint any documents related to the exhaustion ofyour
                            administrative remediesJ

      VIII. Previous Lawsuits

               The "three strikes rule" bars a prisoner from bringing a civil action or an appeal in federal court without paying
               the filing fee if that prisoner has "on three or more prior occasions, while incarcerated or detained in any facility,
               brought an action or appeal in a court of the United States that was dismissed on the grounds that it is frivolous,
               malicious, or fails to state a claim upon which relief may be granted,. unless the prisoner is under imminent
               danger of serious physical injury." 28 U.S.C. § 1915(g).

                To the best of your knowledge, have you had a case dismissed based on this "three strikes rule"?

               0Yes

               Q1-fo

               If yes, state which court dismissed your case, when this occurred, and attach a copy of the order if possible.




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         A.           Have you filed other lawsuits in state or federal court dealing with the same facts involved in this
                      action?

                      D Yes
                      ~
         B.           If your answer to A is yes, describe each lawsuit by answering questions 1 through 7 below. (If there is
                      more than one lawsuit, describe the additional lawsuits on another page, using the same format.)

                      l.    Parties to the previous lawsuit
                            Plaintiff(s)
                             Defendant(s)

                      2.     Court (iffederal court, name the district; ifstate court, name the county and State)



                      3.    Docket or index number



                      4.     Name of Judge assigned to your case



                      5.     Approximate date of filing lawsuit



                      6.    ls the case still pending?

                            0Yes

                            □ No
                             If no, give the approximate date of disposition.

                      7.    What was the result of the case? (For example: Was the case dismissed? Was judgment entered
                            in your favor? Was the case appealed?)




         C.           Have you filed other lawsuits in state or federal court otherwise relating to the conditions of your
                      imprisonment? ,jo



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                     D Yes
                     [i}-No

         D.           If your answer to C is yes, describe each lawsuit by answering questions 1 through 7 below. (If there is
                      more than one lawsuit, describe the additional lawsuits on another page, using the same format.)

                      1.    Parties to the previous lawsuit
                            Plaintiff(s)
                            Defendant(s)

                      2.    Court (iffederal court, name the district; ifstate court, name the county and State)




                      3.    Docket or index number



                      4.    Name of Judge assigned to your case



                      5.    Approximate date of filing lawsuit



                      6.    Is the case still pending?

                            0Yes

                            □ No
                             If no, give the approximate date of disposition

                      7.     What was the result of the case? (For example: Was the case dismissed? Was judgment entered
                             in your favor? Was the case appealed?)




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    IX.      Certification and Closing

             Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
             and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
             unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
             nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
             evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
             opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
             requirements of Rule 11.



             A.           For Parties Without an Attorney

                          I agree to provide the Clerk's Office with any changes to my address where case-related papers may be
                          served. I understand that my failure to keep a current address on file with the Clerk's Office may result
                          in the dismissal ofmy case.


                          Date of signing:         u)u urvk, 2..1 lQZ ~  1
                                           ,                  ~                               .

                          Signature of Plaintiff                  {JJ,J         ~.JL,-,n-/J ~
                          Printed Name of Plaintiff                   ptJJw'\( Ske.,'l), S'.Mreef Sbb:;:_-z...
                          Prison Identification #                     l5'5r/33 ~
                          Prison Address                             Ul>S ~kn SluJ-          $~, CJ"'J en en~ l O
                                                                                  City                    State      Zip Code


             B.           For Attorneys

                          Date of signing:


                          Signature of Attorney
                          Printed Name of Attorney
                          Bar Number
                          Name of Law Firm
                          Address


                                                                                  City                    State      Zip Code

                          Telephone Number
                          E-mail Address




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